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                                    UNITED STATES BANKRUPTCY COURT
                                    NORTHERN     DISTRICT OF GEORGIA
                                           ATLANTA        DIVISION

IN RE: QUENTIN ALEXANDER STEPHENS                                          }           CASE NUMBER:
                                                                           }                                  16-71479-JRS

                                                                           }           JUDGE
                                                                           }
             DEBTOR.                                                       }           CHAPTER 11




                              DEBTOR'S MONTHLY OPERATING REPORT (INDIVIDUAL)
                                                     FOR THE PERIOD
                           FROM         ·t;",,,{fJ;r- {tJ,     TO   {p , /jf-{tli


    Comes now the above-named debtor and files its Monthly Operating Report in accordance with the Guidelines

established by the United States Trustee and FRBP 2015.



                                                                                                   Howard P. Slomka, Esq.
   Dated:
                                                                                                   Attorney for Debtor




            Debtor's Address                                                                       Attorney's Address
            and Phone Number:                                                                      and Phone Number:
              3294 KYI EE DAWN CIRCI E                                                              1069 SPRING STREET
              LAWRENCEVILLE, GA 30045                                                               2ND FLOOR
                                                                                                    ATLANTA, GA 30309
                                                                                                   BarNo. 652875
            Tel.   (404)606-9871                                                                   Tel. (678)732-0001



Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously provided to the United States Trustee.
Monthly Operating Reports must be filed by the 20th day of the following month.                                                     I

                                                                                                                                    !

for assistance in preparing the Monthly Operating Report, refer to the followng resources on the United States Trustee Program website,
http://www.usdoj.gov/ust/r21/reg info.htm.
I)           Instructions for Preparation Debtor's Chapter 11 Monthly Operating Repon
2)           Initial filing Requirements
3)           Frequently Asked Questions (FAQs)




                                                                                                                 --- - -
                                                                                                                       �-                    -
                                                                                                                                             -   -
                                                                                                                                                 --
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                    SUMMARY OF CASH RECEIPTS AND CASH DISBURSEMENTS


I�:��::�,,                 m tt:J!;f; ,ii..--                                                               I
Note: The information requested below ,s a summ�:;;h:::=M5orted the various Schedules and Attachments contained within this repc.

                                                                                             Month                    Cumulative
                                                                                                                         Total


CASH- Beginning of Month (Household)                                                </5 31) jJvf
CASH- Beginning of Month (Business)




 Total Household Receipts                                                            It 81..1€il/
 Total Business Receipts


    Total Receipts                                                                     H, �i,( A�

 Total Household Disbursements                                                        liJ /'it\� -TT
                                                                                         ' \

 Total Business Disbursements

   Total Disbursements                                                                l4_ ,l\11 . )l

NET CASH FLOW (Total Receipts minus Total Disbursements)                              S:l bf, �. 1

CASH- End of Month (Individual)                                                      '$' � <;Ll,<1
CASH- End of Month (Business)


        CALCULATION OF DISBURSEMENTS FOR UNITED STATES TRUSTEE QUARTERLY FEES
TOTAL DISBURSEMENTS (From Above)

   Less: Any Amounts Transferred or Paid from the Business Account to the
Household Account (Le., Salary Paid to Debtor or Owner's Draw)


DISBURSEMENTS FOR U.S. TRUSTEE FEE CALCULATION


I declare under penalty of perjury that this statement and the accompanying document         nd reports are true and correct to the best of
                                                        my knowledge and belief

       rt, w               '½\
  This ,.,. T\,:\ dayof ____iJ _         ____
                                         _
                                                          ,C..
                                                      20--L.\-.




                                                                  Monthly Operating Report - Indivdual
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                                    SCHEDULE OF HOUSEHOLD
                             CASH RECEIPTS AND CASH DISBURSEMENTS

                                                                                              Month         Cumu ative
                                                                                                              To�al
CASH - Beginning of Month                                                             j'330 _ Of.1

CASH RECEIPTS
 Salary or Cash from Business
 Wages from Other Sources (attach list to this report)
                                                                                 II   .    ?U, IV
 Interest or Dividend Income
 Alimony or Child Support
 Social Security/Pension/Retirement
 Sale of Household Assets (attach list to this report)
 Loans/Borrowing from Outside Sources (attach list to this report)
 Other (specify) (attach list to this report)
                                                                                  .
TOTAL RECEIPTS                                                                   z,o, l i (, ti

CASH DISBURSEMENTS
 Alimony or Child Support Payments                                                ?--'2--l (    r   O'j
 Charitable Contributions
 Gifts
                                                                                          -
                                                                                          �(Ill j/iJ

 Household Expenses/Food/Clothing                                                 l 2-c.{ ( � (,, I
 Household Repairs & Maintenance                                                          l.fou __ 1v
 Insurance                                                                       &� � 3t
 IRA Contribution
 Lease/Rent Payments
 Medical/Dental Payments
 Mortgage Payment(s)
 Other Secured Payments
 Taxes - Personal Property
 Taxes - Real Estate
 Taxes Other (attach schedule)
 Travel & Entertainment                                                          17.. �;.       (1-l
 Tuition/Education
 Utilities (Electric, Gas, Water, Cable, Sanitation)                             /l(!I. (. O".)
 Vehicle Expenses                                                                      '101>        (/'.)

 Vehicle Secured Payment(s)                                                     I OVe- t,,J
 U.S. Trustee Quarterly Fees                                                      lo">l _ ?(,
 Professional Fees (Legal, Accounting)
 Other (attach schedule)




                                                                                       ' �17.J<-
Total Household Disbursements                                                   {'f


                                                                                 � ts-,,l,�
CASH - End of Month (Must equal reconciled bank statement-
Attachment No. 2)


                                              Monthly Operating Report - Individual
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MONTHLY OPERATING REPORT­                                                                                                                    ATTAcjHMENT NO. 1
INDIVDUAL




                                                               QUESTIONNAIRE
                                                                                                                                YES*         NO
1.       Have any assets been sold or transferred outside the normal course of business during this
                                                                                                                                            ✓
                                                                                                                                            v
         reporting period?
2.
         Have any funds been disbursed from any account other than a debtor in possession account?
3.       Arc any post-petition receivables (accounts, notes, or loans) due from any relatives,
         insiders, or related party?                                                                                                        V
4.       Have any payments been made on pre-petition liabilities this reporting period?
                                                                                                                                            ti'
5.       Have any post-petition loans been received by the debtor from any party?
                                                                                                                                            V
6.       Are any post-petition payroll taxes past due?
                                                                                                                                            v
7.       Are any post-petition state or federal income taxes past due?
                                                                                                                                            ✓
8.

9.
         Are any post-petition state or local sales taxes past due?

         Are any post-petition real estate taxes past due?
                                                                                                                                            ✓   r

                                                                                                                                            ./,,
IO.      Are any amounts owed to post-petition creditors/vendors delinquent?
                                                                                                                                            �I
II.      Are any wage payments past due?                                                                                                     V
                  *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.




                                                       INSURANCE INFORMATION
                                                                                                                                 YES,;<     NO*
I.      Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
        compensation, and other necessary insurance coverages in effect?
                                                                                                                                   \/"
                                                                                                                                    /
2.      Are all premium payments current?                                                                                          V
                  *If the answer to any of the above questions is ''NO," provide a detailed explanation of each item on a separate sheet.




                                                                         CONFIRMATION OF INSURANCE
                                                                                                                                 Payment Amount       Delinquency
                          TYPE of POLICY             and              CARRIER                         Period of Coverage          and Frequency         Amount




__ Check here 1fUmted States Trustee has been hsted a a Certificate Holder on all pohc1es ofmsurance.


                            DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




     Estimated Date of Filing the Plan of Reorganization and Disclosure Statement: _        _
                                                                                            _ ____    _
                                                                                                      _
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MONTHLY OPERATING REPORT -                                                                          ATTACHMENT NO. 2
INDIVIDUAL

                                          BANK ACCOUNT RECONCILIATIONS


Bank Account Information
                                                                   Account         Account     Account         Aiccount
                                                                     #1              #2          #3               #4

Name of Bank:                                                fflo�,"-- P-AJ}-
Account Number:                                              oi--1r1'L ��1 liCt
Purpose of Account (Business/Personal)                             f)1f
Type of Account (e.g. checking)                              rlLL
I. Balance per Bank Statement                                 l >1& � 04
2. ADD: Deposits not credited (attach list to this report)    ti -q,lL il
3. SUBTRACT: Outstanding Checks (attach list)                 t�
                                                               '   l
                                                                    l   t\�t).,
4. Other Reconciling Items (attach list to this report)                      .
5. Month End Balance (Must Agree with Books)                   'jl �(. \p.L
   TOTAL OF ALL ACCOUNTS                                                                                  $     I




Note: Attach a copy of the bank statement and bank reconciliation for each account.


Investment Account Information                                                                                  I

                                                                    Date of        Type of     Purchase       qurrent
          Bank/ Account Name / Number                              Purchase       Instrument    Price          Value




Note: Attach a copy of each investment account statement.
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                                                                                                                             I
MONTHLY OPERATING REPORT­                                                                                  ATTACHMENT NO. 3B
INDIVIDUAL                                                                                                                   I



                                        CASH DISBURSEMENTS DETAILS - BUSINESS

Name of Bank
Account Number
Purpose of Account (Business)                                                             OPERATING
Type of Account (e.g., Checking)

  Check       Date of
 Number       Check                        Payee                                    Purpose or Description                       Amount




                                                                                                               TOTAL

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explar)ation for
holding check and anticipated delivery date of check.
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                                                                                                                            I
MONTHLY OPERATING REPORT -                                                                                ATTACHMENT NO. 3C
INDIVIDUAL

                                       CASH DISBURSEMENTS DETAILS - BUSINESS

Name of Bank
Account Number
Purpose of Account (Business)
Type of Account (e.g., Checking)

  Check      Date of
 Number      Check                        Payee                                     Purpose or Description                          Amount




                                                                                                              TOTAL             $

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, expla�ation for
holding check and anticipated delivery date of check.
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MONTHLY OPERATING REPORT                                                                                                                   ATTACHMENT NO. 4
INDIVIDUAL


ACCOUNTS RECEIVABLE RECONCILIATION                                           Scheduled                       Current Month
(Pre- & Post- Petition)                                                       Amount

Accounts Receivable Beginning Balance
  Plus: Billings During the Month
  Less: Collections During the Month
  Adjustments or WriteOffs*
Accounts Receivable Ending Balance**

ACCOUNTS RECEIVABLE AGING                                                   Scheduled                        Current Month
(Pre- & Post- Petition)                                                      Amount

0- 30 Days

31 - 60 Days

61 - 90 Days

Over 90 Days



Total Accounts Receivable**

* Attach explanation of any adjustment or writeoff.

** The "current month" of these two lines must equal.


                                                                             Beginning                          Amount
POST-PETITION TAXES                                                             Tax                            Withheld &
                                                                              Liability*                       or Accrued
Federal Taxes
  Withholding**
  FICA - Employee
  FICA - Employer
  Unemployment
  Income
  Other (Attach List)
Total Federal Taxes



State & Local Taxes
 Withholding
 Sales
  Unemployment
  Real Property
 Personal Property
 Other (Attach List)
Total State & Local Taxes
Total Post-Petition Taxes

• The beginning tax liability should represent the liability from the prior month, or if this is the first report, the amount should be zero
•• Attach copies of IRS Form 6123 or your FTD coupon and payment receipt to verify payment or deposit
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MONTHLY OPERATING REPORT -                                                                                                                             ATTACHMENT NO. 5
INDIVIDUAL



                                  ACCOUNTS PAYABLE RECONCILIATION (Post-Petition Only)
                                                                                        Month                       Month                      Month


Accounts Payable Beginning Balance*
  Plus: New Indebtedness During the Month
  Less: Amount Paid on Acct. Payables in Month
  Adjustments or WriteOffs**
Accounts Payable Ending Balance

* The beginning A/P liability should represent the liability from the prior month, or if this is the first report, the amount should be zero
**Attach explanation for any adjustment or write-0ff.


                                                        ACCOUNTS PAYABLE LISTING
[List all bills or invoices incurred since the filing of the petition (Post-Petition Only) and have NOT been paid]*.,....
                                                                                         Date                     Days
             Vendor & Description of Bill/Invoice                                      Incurred                Outstanding                 Amount




               ..
*** List any addrt1onal payables on a separate sheet and attach to thrs schedule.




                       POST-PETITION STATUS OF SECURED NOTES, LEASES, AND ADEQUATE PROTECTION PAYMENTS
                                                      Scheduled    Total Past Due                                                                             Total Number
                                                   Monthly Payment    From Prior  Amount Paid  Total Unpaid                                                   of Payments
             Name of Secured Creditor I Lessor           Due           Month(s)   During Month Postpetition                                                     Past Due
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                                       Conyers, GA 30094




               QUENTIN A STEPHENS
               ROSA M BINION
               1910 CLACK RD
               MADISON GA 30650-4805
                                                                                                               ACCOUNT#            0253264967
                                                                                                                                              060
                                                                                                                        Cycle                  09
                                                                                                                   Enclosures                    0
                                                                                                                        Page                1 of 4

                                                           LIFEGREEN CHECKING
                                                       May 18, 2019 through June 17, 2019



                                                                      SUMMARY
Beginning Balance                                   $5,102.52                 Minimum Balance                                         $2,275
Deposits & Credits                                $11,821.14      +           Average Balance                                         $4,712
Withdrawals                                         $5,997.60     -
Fees                                                   $29.90
Automatic Transfers                                     $0.00     +
Checks                                            · $6,501.96     -
Ending Bala111ce                                    $4,394.20



                                                           DEPOSITS & CREDITS
       05/24      Sons Bavarian LI Direct Pay Stephens, Quen                                                                         2,010.67
       05/31      Sons Bavarian LI Direct Pay Stephens, Quen                                                                         2,010.67
       06/03      Card Credit Aic*allstate As 6300 800-268-5619 IL 60062               4243                                             28.91
       06/03      Zelle Credit From Michael Back Ref# 91520030724m                                                                     800.00
       06/07      Sons Bavarian LI Direct Pay Stephens, Quen                                                                         2,010.66
       06/07      Sons Bavarian LI Direct Pay Stephens, Quen                                                                         2,949.56
       06/14      Sons Bavarian LI Direct Pay Stephens, Quen                                                                         2,010.67

                                                                                                 Total Deposits & Credits          $11,821.14


                                                                 WITHDRAWALS
      05/20       Card Purchase Popeyes #12807 5814 Duluth       GA 30096 4243                                                         11.09
      05/20       Card Purchase Popeyes #12807 5814 Duluth       GA 30096 4243                                                          6.15
      05/20       Card Purchase 4022 Jnn Suwane 5812 Suwanee        GA 30024 4243                                                      91.76
      05/20       PIN Purchase Honey Creek Di 5921 Conyers      GA       4243                                                          37.09
      05/21       Card Purchase Vzwrlss*bill PA 4814 800-9220204 CA 95630 4243                                                        317.04
      05/21       Card Purchase Chevron 0302529 5542 McDonough GA 30253 4243                                                           34.86
      05/22       Card Purchase J&j Liquor     5921 Stockbridge GA 30281 4243                                                         129.42




                                  For all your banking needs, please call 1-800-REGIONS (734-4667)
                              or visit us on the Internet at www.regions.com. (TTY;TDD 1-800-374-5791)
                                  For new purchase or refinance mortgage information, contact your
                                  Mortgage Loan Originator, Wanda P. Simmons, NMLS 169857, at (770)860-1578
                                  or online at www.regionsmortgage.com/wandapsimmons.
                      For payment and other information about your existing mortgage loan, contact Mortgage
                            Servicing at 1-800-986-2462 and for Home Equity loans call 1- 800-231-7493.

                                 1=)                Thank You For Banking With Regions!
                                 LENDER     2019 Regions Bank Member FDIC. All loans subject to credit approval.
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                                   Conyers, GA 30094




   QUENTIN A STEPHENS
   ROSA M BINION
   1910 CLACK RD                                                                     ACCOUNT#               0253264967
   MADISON GA 30650-4805
                                                                                                                       060
                                                                                                 Cycle                  09
                                                                                            Enclosures                    0
                                                                                                 Page                2 of 4

                                              WITHDRAWALS (CONTINUED)
  05/24      Card Purchase Usa*snack Soda 5814 Union City GA 30291 4243                                           1.20
  05/24      Card Purchase Gabinos Mexican 5812 Stockbridge GA 30281 4243                                        47.92
  05/28      Card Purchase Qt 820       0 5542 McDonough GA 30253 4243                                           35.38
  05/28      Card Purchase Wendy S 0343 5814 Stockbridge GA 30281 4243                                           15.71
  05/28      Card Purchase Usa*snack Soda 5814 Union City GA 30291 4243                                           1.80
  05/28      Card Purchase Sqc*cash App 4829 8774174551 CA 94103 4243                                           110.00
  05/28      Card Purchase Qt 820       0 5541 McDonough GA 30253 4243                                           12.36
  05/28      Card Purchase Arizona S at ST 5812 Lithonia    GA 30038 4243                                       285.27
  05/29      Country Mutual Insurance. Quintin Stephe                                                           225.31
  06/03      Card Purchase Arizona S at ST 5812 Lithonia    GA 30038 4243                                        52.08
  06/03      Card Purchase Google *Pay      4829 G.CO/Walleth# CA 94043 4243                                    325.00
  06/03      Recurring Card Transaction Experian* Credi 5968 479-3436237 CA 92629    4243                        39.95
  06/03      PIN Purchase Publix Super M 5411 Suwanee       GA       4243                                        63.32
  06/04      Card Purchase WU *2177842551 4829 877-989-3268 CA 94107 4243                                       484.99
  06/05      Card Purchase Chick-Fil-A #01 5814 Fairburn    GA 30213 4243                                        49.00
  06/06      Card Purchase Zaxby S #35801 5814 Union City GA 30290 4243                                          27.97
  06/06      Card Purchase Racetrac110 0 5541 Union City GA 30291 4243                                            9.16
  06/10      Card Purchase Qt 842       0 5542 McDonough GA 30253 4243                                           48.04
  06/10      Card Purchase Google *Pay      4829 G.CO/Walleth# CA 94043 4243                                  1,000.00
  06/10      Card Purchase Wendy S #9096 5814 Fairborn        GA 30213 4243                                      31.52
  06/10      Card Purchase Sqc*cash App 4829 8774174551 CA 941 03 4243                                          499.00
  06/10      Paypal       Transfer Quentin Stephe 5sr22as5I2exa                                                 655.25
  06/12      Card Purchase Google*google S 5968 G.CO Helppay# CA 94043 4243                                       1.99
  06/12      PIN Purchase The Fresh Mark 5411 Suwanee        GA      4243                                       225.95
  06/14      Card Purchase Google *Pay      4829 G.CO/Walleth# CA 94043 4243                                    350.00
  06/17      Card Purchase Two Men and A T 4214 404-425-2544 GA 30318 4243                                      375.00
  06/17      Card Purchase Property Paymen 6513 805-6992040 CA 93117 4243                                        78.95
  06/17      Card Purchase Vzwrlss*bill PA 4814 800-9220204 CA 95630 4243                                       318.07

                                                                                 Total Withdrawals           $5,997.60


                                                         FEES
  06/11      Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                          14.95
  06/12      Overnite Chk Pmt Overntfee Stephens,Quent Ckf024437216pos                                          14.95

                                                                                       Total Fees              $29.90


                                                                            Total For This           Total Calendar
                                                                         Statement Period              Year-to-Date
Total Overdraft Fees (may include waived fees)                                            0.00                   0.00
Total Returned Item Fees (may include waived fees)                                        0.00                   0.00



                                                       CHECKS
  Date             Check No.               Amount                        Date          Check No.              Amount
  06/07                                     300.00                       06/05           995047                500.00
  05/20                  2041             2,200.00                       06/07           995048              1,900.00
  06/05                995046 *             500.00                       06/13           995051 *              450.00




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                           -   -   -
                                   -
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                              Conyers, GA 30094




QUENTIN A STEPHENS
ROSA M BINION
1910 CLACK RD
                                                                          ACCOUNT#                0253264967
MADISON GA 30650-4805
                                                                                                             060
                                                                                       Cycle                  09
                                                                                  Enclosures                    0
                                                                                       Page                3 of 4

                                             CHECKS (CONTINUED}
Date         Check No.                Amount
06/17          995054 *                651.96
                                                                         Total Checks              $6,501.96
* Break In Check Number Sequence.


                                          DAILY BALANCE SUMMARY
Date                     Balance           Date             Balance        Date                     Balance
05/20                    2,756.43          05/31           5,561.50        06/10                    4,865.35
05/21                    2,404.53          06/03           5,910.06        06/11                    4,850.40
05/22                    2,275.11          06/04           5,425.07        06/12                    4,607.51
05/24                    4,236.66          06/05           4,376.07        06/13                    4,157.51
05/28                    3,776.14          06/06           4,338.94        06/14                    5,818.18
05/29                    3,550.83          06/07           7,099.16        06/17                    4,394.20



                             You may request account disclosures con1taining
                              terms, fees, and rate information (if applicable)
                            for your account by contacting any Regions office.
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           Easy Steps to Balance Your Account                                                         4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                              Check
               1.      Write here the amount shown on                      $                                   No.                              :A.mount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
               2.      Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $
               3.      Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
               4.      Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -
                                                                                                                              $
                                                                                                                              $
               5.      Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left



The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it andl to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be lia�le to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations. I

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                   Birmingham, Alabama 35201                                                I



Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer list6d on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why ybu need more information.
      (3) Tell us the dollar amount of the suspected error.                                                                                I
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for t�ansfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in erroc If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaiht in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error. If we �ecide there was no error,
we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of the doclclments that we used in our
investigation.

FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

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EB - Electronic Banking       NSF - Nonsufficient Funds        APY- Annual Percentage Yield         FWT- Federal Withholding Tax         *Break in Number Sequence
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